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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION
         IN RE:                        )
                                       )
         VANWINKLE, DEREK LEE          )   Case No. 14-02251-FJO-7
         VANWINKLE, STACEY LEIGH       )
                                       )


                       MOTION FOR RELIEF FROM JUDGMENT

         Comes now Paul D. Gresk, the Chapter 7 trustee herein and in support of this

  pleading makes the following showing:

         1)       That the Trustee’s Report of No Distribution was filed with the Court on

  May 14, 2014.

         2)       That the Court issued an Order in No Asset on June 14, 2014.

         3)       That the Chapter 7 trustee filed a Motion to Reopen this bankruptcy case
  in order to allow for the administration of a previously unknown and undisclosed asset,
  i.e. the debtor’s entitlement to receive funds resulting from a medical malpractice claim.
         WHEREFORE, Paul D. Gresk, the Chapter 7 trustee of this proceeding, requests
  that the Court issue an Order that sets aside the Order in No Asset that has been issued in
  this bankruptcy proceeding.
                                        Respectfully submitted,

                                         /s/ Paul D. Gresk
                                        Paul D. Gresk, Chapter 7 trustee
                                        150 E. 10th Street
                                        Indianapolis, IN 46204
                                        317-237-7913
                                        Fax no. 317-237-7912
                                        bankruptcy@gslawindy.com
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                                CERTIFICATE OF SERVICE

         I hereby certify that this pleading has been served upon the below named parties
  by U.S. mail or electronically, postage prepaid on this the day upon filing with the U.S.
  Bankruptcy Court:

                                April Michelle Hall
                                Hall Law Office, P.C.
                                120 East Market Street, Suite 1150
                                Indianapolis, IN 46204


                                                         /s/ Paul D. Gresk
                                                        Paul D. Gresk
